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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 Ouyeinc Ltd.,                                            )
                                                          )
                                                          )
                                       Plaintiff,         ) Case No. 1:22-cv-05187
                                                          )
 v.                                                       ) Dist. Judge Jeremy C. Daniel
                                                          )
 The Partnerships and                                     )
 Unincorporated Associations                              )
 Identified on Schedule “A”,                              )
                                                          )
                                       Defendants.        )

                         Plaintiff’s Motion to Release Injunction Bond

        On October 20, 2022, Plaintiff Ouyeinc Ltd. (“Plaintiff’) deposited the sum of Ten

Thousand U.S. Dollars ($10,000) with the Clerk of the Court [Dkt. 17] to support the Temporary

Restraining Order [Dkt. 16]. This deposit was required by the Temporary Restraining Order.

[Dkt. 16]. On January 3, 2024, the Default Judgment Order was entered, [Dkt. 90]. The case has

been terminated.

        Plaintiff respectfully requests that the Court enter an Order directing the Clerk to return the

bond deposit to Plaintiff’s counsel.

Dated: August 23, 2024

                                                     /s/ Ilya G. Zlatkin
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